Case 1:23-cr-00464-MAD Document 44

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

Filed 02/25/25 Pagelof3

UNITED STATES OF AMERICA,

-against —

DANIEL FUINO,

Defendant.

1:23-CR-464 (MAD)

DEFENDANT’S PRESENTENCE MEMORANDUM

TO: Honorable Mae A. D’ Agostino

Hon. John M. Domurad
Clerk, United States District Court

Benjamin S. Clark
Assistant United States Attorney

Melyssa K. Inman
United States Probation Officer

Trevor W. Hannigan

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INTRODUCTION

On or about July 26, 2024, Daniel Fuino (hereinafter “Mr. Fuino” or “Defendant”)
pleaded guilty, pursuant to a written Rule 11(c)(1)(C) plea agreement, to Count 1 of a six-
count Indictment which charged him with a violation of 18 U.S.C. §§ 2251(1)(a).

It is respectfully requested that the Court impose the agreed upon disposition
codified in the Rule 11(c)(1)(C) plea agreement requiring fifteen (15) years’ incarceration
followed by at least fifteen (15) years post release supervision.

This presentence memorandum is further submitted in an effort to respectfully
persuade the Court to afford Mr. Fuino specific performance of the Rule 11(c)(1)(C) plea
agreement.

DEFENDANT’S PERSONAL BACKGROUND

Probation detailed Mr. Fuino’s personal background. (PSIR pages 13-16) I
respectfully adopt and reference that portion of the PSIR as if it were fully set forth herein,
including but not limited to Mr. Fuino’s personal and Family Data, Physical Condition,
Mental and Emotional Health, Substance Abuse, Educational, Vocational and Special
Skills, Employment History and Financial Condition.

ACCEPTANCE OF RESPONSIBILITY

On or about July 26, 2024, Mr. Fuino entered a guilty plea to a Count 1 of a six
count Indictment “Sexual Exploitation of a Minor” in violation of 18 U.S.C. 2251(a). Mr.
Fuino was first arrested on or about May 12, 2023. (PSIR page 7).

On or about September 26, 2024, Mr. Fuino was interviewed for the PSIR where
he “accept[ed] responsibility for his actions.” (PSIR page 6) Mr. Fuino admitted that the
factual basis of the plea was accurate.

GOVERNMENT’S POSITION

Pursuant to the Government’s Sentencing Memorandum filed on or about January
27, 2025, the Government requested that the Court impose the agreed upon disposition of
fifteen (15) years’ incarceration followed by at least fifteen (15) years post-release
supervision. The defendant joins in the Government’s request.

PRETRIAL RELEASE

Mr. Fuino has been detained since on or about May 12, 2023, at the Albany County
Correctional Facility. (PSIR page 7)
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RESTITUTION

While the PSIR suggests Mr. Fuino has the means to pay restitution, it is
respectfully submitted that Mr. Fuino’s cash liquidity is limited. He has little cash assets
in his bank accounts and receives a monthly pension. While he owns a home, jointly with
his wife, there is a mortgage on the home and his wife uses this home as her primary
residence. It is respectfully submitted that should the Court award restitution, it award an
amount that Mr. Fuino may actually pay, taking into consideration the needs of his wife
and her reliance on Mr. Fuino’s monthly pension into her household budget.

CONCLUSION

For all of the foregoing, Mr. Fuino respectfully requests that the Court impose
specific performance of the Rule 11(c)(1)(C) plea agreement and fix an award of restitution
that Mr. Fuino may reasonably afford, taking into consideration his limited financial ability _

to pay.

Dated: Albany, New York
February 25, 2025

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